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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                              Case Number 10-20392
                                                               Honorable David M. Lawson
v.

MOUNIF ZEAITER,

                  Defendant.
_____________________________________/

     ORDER APPROVING APPLICATION TO AUTHORIZE FUNDS FOR EXPERT
             SERVICES FOR COURT-APPOINTED INTERPRETER

       The matter is before the Court on the defendant’s ex parte application to authorize funds for

expert services for the Court-appointed interpreter. The defendant is charged with attempt and

conspiracy to commit bank fraud. On December 14, 2011, the Court appointed the Federal Defender

Office to represent the defendant, and thereafter Jerome Sabbota, a panel attorney appointed under

the Criminal Justice Act, filed an appearance on behalf of the defendant on December 15, 2011. Mr.

Sabbota asserts that the defendant is not fluent in English, and the Court has appointed an Arabic

interpreter for the defendant’s arraignment and January 23, 2012 motion hearing. The Court-

appointed interpreter also has met with Mr. Sabbota and the defendant on several occasions, billing

$476.66 to date. The defendant, anticipating that the total cost of an interpreter for trial will exceed

$800, asks the Court to authorize funds in excess of $800 for that purpose.

       Appointed counsel may not expend more than $800 on expert services without seeking court

approval. 18 U.S.C. § 3006A(e)(2). Appointed counsel may exceed the $800 threshold for expert

services by filing an ex parte application that demonstrates the services are necessary for adequate

representation and that the defendant is financially unable to obtain them. 18 U.S.C. § 3006A(e)(1).
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       The Court finds that an interpreter is necessary to ensure adequate representation and that

the defendant cannot afford those services. Therefore, the Court will approve the defendant’s

application and authorize the defendant to expend an additional $630 plus mileage for an

interpreter’s services.

       Accordingly, it is ORDERED that the defendant’s ex parte application to authorize funds

for expert services for the Court-appointed interpreter [dkt. #91] is APPROVED.

       It is further ORDERED that the defendant may expend an additional $630 plus mileage for

an interpreter’s services. The total costs may not exceed $1,104.66 plus mileage.

                                                        s/David M. Lawson
                                                        DAVID M. LAWSON
                                                        United States District Judge

Dated: June 4, 2012


                                                  PROOF OF SERVICE

                          The undersigned certifies that a copy of the foregoing order was served
                          upon each attorney or party of record herein by electronic means or first
                          class U.S. mail on June 4, 2012.

                                                            s/Deborah R. Tofil
                                                            DEBORAH R. TOFIL




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